
OFINION.
Arundell:
The profit realized on the transaction whereby petitioner transferred his undivided interest in the copartnership to the Brown-Crummer Co., a corporation of the same. name, is taxable under the provisions of section 202 (b) of the Bevenue Act of 1918. We have found that the cost of petitioner’s one-half interest was *58$150,000, from which should be deducted the 1% per cent interest in the partnership disposed of by him, and to the remaining sum there should be added his distributive share in the partnership profits for the period ended May 15, 1919; the resulting amount will be the basis for computing profit.
Upon liquidation of the partnership of Brown-Crummer Co. on May 15, 1919, petitioner’s share of the partnership profits, which amounted to $6,111.43, was taxable to him under the provisions of section 218 (a) of the Revenue Act of 1918.

Order of redetermination will be entered on 15 days’ notice, under Bule 50.

